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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,                               :
                                                               Case No. 3:12CR116(9)
           Plaintiff,                                   :
                                                               District Judge Thomas M. Rose
                   v.                                   :      Magistrate Judge Michael J. Newman

JUAN CANO,                                              :

           Defendant.                                   :


                                 REPORT AND RECOMMENDATION1


           This case came on for hearing on Friday, April 12, 2013. The United States was

represented by Assistant United States Attorney Andrew Hunt; Defendant was represented by

Attorney Steven Rueckert; and Marina Camacho, a Spanish language interpreter, was also

present. Defendant consented on the record that he understood the Spanish language interpreter,

and had no language concerns. The case was referred to the undersigned under Fed. R. Crim. P.

59 for plea proceedings. Defendant, through counsel, orally consented to proceed before the

United State Magistrate Judge for this hearing.

           The undersigned examined Defendant under oath as to his understanding of the Plea

Agreement and the effect of entering a plea pursuant to that Agreement. Having conducted that

colloquy, the Magistrate Judge is persuaded that Defendant understands the rights waived by

entering a guilty plea and is competent to do so. The Magistrate Judge also concludes that

execution of the Plea Agreement, which was acknowledged in open court, is Defendant’s



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    Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendation.
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knowing, intelligent and voluntary act. It is therefore respectfully recommended that the Plea

Agreement be accepted.

        The Magistrate Judge concludes that Defendant’s guilty plea to Count One of the First

Superseding Indictment dated September 25, 2012 is knowing, intelligent and voluntary, and that

the Statement of Facts made a part of the Plea Agreement, whose truth Defendant acknowledged,

provides a sufficient factual basis for a guilty finding. It is therefore respectfully recommended

that Defendant’s guilty plea be accepted, and Defendant be found guilty as charged in Count One

of the First Superseding Indictment.

        Anticipating the District Court’s adoption of this Report and Recommendation, the

Magistrate Judge referred Defendant for a pre-sentence investigation, remanded him to the

custody of the United States Marshal, and set sentencing for July 18, 2013, at 2:30 p.m. in

Courtroom 2 of the Dayton Federal Courthouse before United States District Judge Thomas M.

Rose.



April 17, 2013                                             s/Michael J. Newman
                                                         United States Magistrate Judge
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                           NOTICE REGARDING OBJECTIONS

       Pursuant to Fed. R. Crim. P. 59 (b)(2), any party may serve and file specific, written

objections to the proposed findings and recommendations within fourteen days after being served

with this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is

automatically extended to seventeen days because this Report is being served by one of the

methods of service listed in Fed. R. Civ. P. 5(b)(2)(B)(C), or (D) and may be extended further by

the Court on timely motion for an extension. Such objections shall specify the portions of the

Report objected to and shall be accompanied by a memorandum of law in support of the

objections. If the Report and Recommendation are based in whole or in part upon matters

occurring of record at an oral hearing, the objecting party shall promptly arrange for the

transcription of the record, or such portions of it as all parties may agree upon or the Magistrate

Judge deems sufficient, unless the assigned District Judge otherwise directs. A party may

respond to another party=s objections within fourteen days after being served with a copy thereof.

Failure to make objections in accordance with this procedure may forfeit rights on appeal. See

United States v. Walters, 638 F. 2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 106 S. Ct.

466, 88 L. Ed. 2d 435 (1985).
